




THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
        Freddie
          Bradley, Petitioner
        v.
        State of South Carolina, Respondent
      
    
  


Appeal From Williamsburg County
&nbsp;Paula H. Thomas, Circuit Court Judge

Unpublished Opinion No. 2008-UP-273
Submitted April 1, 2008  Filed May 19, 2008&nbsp;&nbsp;&nbsp; 

APPEAL DISMISSED


  
    
      
        Appellate
          Defender Robert M. Pachak, of Columbia, for Petitioner.
        Attorney General Henry McMaster, Chief Deputy Attorney John W.
          McIntosh, Assistant Deputy Attorney General Salley W. Elliott, and Assistant
          Attorney General Ashley McMahan, all of Columbia, for Respondent.
      
    
  

PER
  CURIAM:&nbsp; Petitioner seeks a writ of
  certiorari from the denial of his application for post-conviction relief (PCR).
Because the State
  did not challenge the PCRs judges finding the Petitioner did not knowingly
  and intelligently waive his right to a direct appeal, we grant certiorari and
  proceed with a review of the direct appeal issue pursuant to Davis v. State,
  288 S.C. 290, 342 S.E.2d 60 (1986).
After
  a thorough review of the record, counsels brief, and Petitioners pro se brief pursuant to Anders v. California, 386 U.S. 738 (1967) and State
    v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss[1] Petitioners appeal and grant counsels motion to be relieved. 
APPEAL
  DISMISSED. 
HUFF, KITTREDGE,
  and WILLIAMS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

